Case o-24-Oo0/1-aSt DOC lo-lo Filed ti/tyv/2z4 entered Llilyiz4 10lo9706

EXHIBIT “O”
Case 0-24-UoU0/1-aSt DOC lo-lo Filled Li/ly/24 Entered Ll/1ly/24 LUloviob
06/24/9021 THY LLt26é FAX Wee

CRRTUNICATE OF MERGER OF MIRAGE MECHANICAL SYSTEMS INC, INTO
BLUE DIAMOND SHEET METAL, INC.

PURSUANT TO SECTION 904 OF THE BUSINESS CORPORATION LAW OF THE
STATE OP NEW YORK

Filed by
Campolo, Middleton & McCormick, LLP
4175 Veterans Memorial Highway, Sulte 400
Ronkonkoma, NY 11779
Cust, Ref, #3541-001

Filed with the NYS Department of State on 06/24/2021
Filing Number: 210625000493 DOS M: 830634

Case 0-24-UoU0/1-aSt DOC lo-lo Filled Li/ly/24 Entered Ll/1ly/24 LUloviob
04/24/2908) THY Altad PAX Moos 009

CERTIFICATE OF MERGER OF MIRAGE MECHANICAL SYSTEMS INC, INTO BLUE
DIAMOND SHEET METAL, INC, PURGUANT TO SECTION 904 OF THE BUSINESS
CORPORATION LAW OF THE STATE OF NEW YORK

FIRST: The name and Jurladiction of formation or organization of each constituent entity lg: 7) Mirage
Mechanioa! Systema Inc., a New York corporation; and (11) Blue Diamond Sheet Metal, Inc. ¢ New York
corporation, originally dled under the name

SBCOND: The certificate of Incorporation of Mirage Meohanloal Systems Ina, was originally fled with
ihe New York Department of State on January 2, 2003, and the certificate of Incorporation of Blue Diamond
Sheet Metal, Inc. was filed with the New York Deparment of State on March 23, 1983,

THIRD: The agreement of marger has been approved and exeguled by each of the domeatle entitles that
are constituents thereto.

FOURTH: Tho name of the aurviving corporation Is Blue Diamond Sheet Metal, Ine,
FIFTH: The morger shall be effective on June 24th, 2021,

SIXTH: Tho surviving domestic corporation may be aerved with process In this state in any action or
spacial procesding for the enforcement of wny tlabllty or obligation of any domestic Jimfted [habblity
company, domestic business corporation or domestls other business entity previously amenable to suit In
thig state that Ia fo merge and for the enforcement shat ls provided in the Business Corporation Law of the
right of members of any domestla Hinlled [lability company, sharcholders of any domestic business
corporation or owners of any domusila other bus! ness entity to receive payment for their literests againat
the surviving foralan Himlted llabliky company,

SEVENTH: Purguant to Section 623 of the Business Corporation Law or any applicable statuie, the
surviving domeatle business corporation will promptly pay to the sharsholdors of exch dumesile business
corporation or owners of any constituent other business entity the amount, ifany, to which they shall be
entitled under the provisions of the Business Corporation Law and any applicable atatute relating to the
right of shareholders and owners to recelve payment for thelr interest,

BIGHTH: The Searetary of State is designated aa agent of tho surviving corporation upon whom process
againgt tmay be served. The address within or without the state to which the Secretary of State shall mai)
a copy of any process against the corporation served ppon It Is: Blue Diamond Bheet Matal, Inc. 1163
Station Road, Medford, NY 11763,

NINTH: The agreement of merger ie on file at (he place of buginass of the aurviving corporaiion at the
followlng adrase: Blue Diamond Sheet Metal, Inc, 1465 Station Road, Medford, NY 11763. A copy of
the plan of merger will be furnished by the Surviving Corporation to Its shareholders without coat,

[remainder of page intentionally laft blank ~ signature page t0 fotlaw}

(3549 wh 1/008 14/2)

Filed with the NYS Department of State on 06/24/2021
Filing Number: 210625000493 DOS ID; 830654

Case 0-24-Oo0/1-asSt DOC lo-lo Filed ti/ty/2z4 entered Llilyiz4 10lo9706

06/20/2021 THY 21486 FAX waivers uve

BLUE DIAMOND spr METAL, aN,

Title: eae Finanolal Officer

MIRAGE MECHANICAL SYSTEMS ENC.

Tle: Chief Financial Offleer

Signature paye fo Cartificaie af Merger
2

[3242-00 1/3400874/2)

Filed with the NYS Department of State on 06/24/2021
Filing Number: 210625000493 DOS ID: 830654

